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    UNITED STATES DISTRICT COURT
    FOR THE DISTRICT OF NEW JERSEY


    DEBORAH MIGDAL,
    on behalf of herself and those similarly
    situated,

                            Plaintiff,                        Civil Action No. 2:16-cv-04750
               -v-

    PORTFOLIO RECOVERY ASSOCIATES,
    LLC

                            Defendant.

                                         CERTIFICATE OF SERVICE

               I hereby certify that on this 28th day of April, 2017, the following documents were

    electronically filed and served via the Court’s CM/ECF system upon all registered users:

                     1. Notice of Motion to Compel Arbitration

                     2. Memorandum in Support of Motion

                     3. Proposed Order Granting Motion; and

                     4. Certificate of Service

               I certify that the foregoing statements made by me are true.

    Dated: April 28 2017                                    Respectfully submitted,

                                                                    /s/ Amanda L. Genovese
                                                                    Amanda L. Genovese




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